           Case 1:08-cr-00115-NGG Document 596 Filed 09/09/19 Page 1 of 7 PageID #: 2826
AO 245B (Rev. 02/18) Judgment in a Criminal Case
heet 1




                                       United States District Court
                                                          Eastern District of New York

              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                 V.



             WENDELL ALOMAR-CABRERA                                                Case Number:              CR08-0115(S-4)(NOG)
     (True Name: Larking Gregorio Mendez Romero)
                                                                                   USM Number:                     65388-053

                                                                                   Jeremy P. Orden, Esq.
                                                                                   Defendant's Attorney
THE DEFENDANT:

X                 pled guilty to COUNT FOUR(4)OF THE SUPERSEDING INDICTMENT (S-4).
□ pleaded nolo contendere to count(s)
    which was accepted by the court.
□ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                             Offense Ended             Count
18U.S.C. §924G)(1)              USE OF A FIREARM TO COMMIT MURDER                                               10/16/2006             4(8-4)




         The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X              Any underlying Indictment is dismissed on the motion of the United States.
X Count(s)         1-3 & 5-9 of CR 08-0115 (S-4)        □ is      X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
w niailmg address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         July 26,2019
                                                                         Date VA
                                                                              of lllipudliiuil
                                                                                 Imposition Ui of Judgment

                                                                          s/Nicholas G. Garaufis
                                                                         Sl^ature of Judge



                                                                        NICHOLAS G. GARAUFIS, U.S.D.J.
                                                                        Name and Title of Judge


                                                                        Septembers, 2019
                                                                        Date
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                     Judgment — Page    2   of
DEFENDANT:                     WENDELL ALOMAR-CABRERA (True Name: Larking Gregorio Mendez Romero)
CASE NUMBER:                   CR 08-0115(S-4)(NOG)

                                                            IMPRISONMENT

         The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a
total term of:    THREE HUNDRED (300) MONTHS(CAG)ON COUNT FOUR(4)OF THE SUPERSEDING
INDICTMENT (S-4).




      □ The court makes the following recommendations to the Bureau of Prisons:




      X The defendant is remanded to the custody of the United States Marshal.

      □ The defendant shall surrender to the United States Marshal for this district:

           □ at                                    □ a.m.      □ p.m.         on
           □ as notified by the United States Marshal.

      □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           □ before 2 p.m. on                                            .
           □ as notified by the United States Marshal.

           □ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                        to

 at                                                 , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL




                                                                             By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                        Sheet 3 — Supervised Release
                                                                                                         Judgment—Page     3     of
DEFENDANT:                     WENDELL ALOMAR-CABRERA (True Name: Larking Gregorio Mendez Romero)
CASE NUMBER:                   CR 08-0115(S-4)(NOG)
                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: TWO(2)YEARS ON COUNT FOUR(4)OF THE
SUPERSEDING INDICTMENT(S-4).




                                                       MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court,
               □ The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse, (check ifapplicable)
4.       □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (check ifapplicable)
5.       □ You must cooperate in the collection of DNA as directed by the probation officer, (check ifapplicable)
6.       □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
7.       □ You must participate in an approved program for domestic violence, (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 24SB(Rev. 02/18) Judgment in a Criminal Case
                    Sheet 3A — Supervised Release
                                                                                              Judgment—Page         4       of _
DEFENDANT:                   WENDELL ALOMAR-CABRERA(True Name: Larking Gregorio Mendez Romero)
CASE NUMBER:                 CR 08-0115(S-4)(NOG)

                                    STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2.  After initially reporting to the probation office, you will receive instructions fi*om the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time(at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work(such as your position or yourjob
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchalms or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential humein source or informant without
    first getting the permission ofthe court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions ofsupervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: vyww.uscourts.gov.


Defendant's Signature                                                                                   Date
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AO 24SB(Rev. 02/18)   Judgment in a Criminal Case
                      Sheet 3D — Supervised Release
                                                                             Judgment—Page   5   of
DEFENDANT:                WENDELL ALOMAR-CABRERA (True Name: Larking Gregorio Mendez Romero)
CASE NUMBER:              CR 08-0115(S-4)(NOG)

                                        SPECIAL CONDITIONS OF SUPERVISION


1. THE DEFENDANT SHALL NOT POSSESS A FIREARM, AMMUNITION OR DESTRUCTIVE DEVICE;


2. THE DEFENDANT SHALL COOPERATE WITH AND ABIDE BY ALL INSTRUCTIONS OF IMMIGRATION

AUTHORITIES;



3. THE DEFENDANT IF DEPORTED MAY NOT RE-ENTER THE UNITED STATES ILLEGALLY;



4. AS A SEARCH CONDITION,THE DEFENDANT SHALL SUBMIT HIS PERSON,PROPERTY,HOUSE,

RESIDENCE, VEHICLE,PAPERS,COMPUTERS(AS DEFINED IN 18 U.S.C. § 1030 (e)(1)), OTHER ELECTRONIC

COMMUNICATIONS OR DATA STORAGE DEVICES OR MEDIA,OR OFFICE, TO A SEARCH CONDUCTED BY

A UNITED STATES PROBATION OFFICER. FAILURE TO SUBMIT TO A SEARCH MAY BE GROUNDS FOR

REVOCATION OF RELEASE. THE DEFENDANT SHALL WARN ANY OTHER OCCUPANTS THAT THE

PREMISES MAY BE SUBJECT TO SEARCHES PURSUANT TO THIS CONDITION.               AN OFFICER MAY

CONDUCT A SEARCH PURSUANT TO THIS CONDITION ONLY WHEN REASONABLE SUSPICION EXISTS

THAT THE DEFENDANT HAS VIOLATED A CONDITION OF HIS SUPERVISION AND THAT THE AREAS TO BE

SEARCHED CONTAIN EVIDENCE OF THIS VIOLATION. ANY SEARCH MUST BE CONDUCTED AT A

REASONABLE TIME AND IN A REASONABLE MANNER.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page       6     of
DEFENDANT:                        WENDELL ALOMAR-CABRERA (True Name: Larking Gregorio Mendez Romero)
CASE NUMBER:                      CR 08-0115(S-4)(NOG)
                                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  JVTA Assessment*              Fine                         Restitution
TOTALS             $ 100.00                    $ N/A                          $ N/A                       $                     N/A



 □ The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.


 □ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                                                                                                        pecifiec otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                               Total Loss**                       Restitution Ordered                     Priority or Percentage




 TOTALS



 □     Restitution amount ordered pursuant to plea agreement $

 □     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 □     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       □ the interest requirement is waived for the            D fine     □ restitution.
       □ the interest requirement for the          □    fine    □   restitution is modified as follows:

 ♦ Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113 A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 245B(Rev. 02/18) Judgment in a Criminal Case
                    Sheet 6 — Schedule ofPayments

                                                                                                           Judgment — Page      7      of
DEFENDANT:                  WENDELL ALOMAR-CABRERA(True Name: Larking Gregorio Mendez Romero)
CASE NUMBER:                CR 08-0115(S-4)(NOG)

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A     X        special assessment of$ 100.00                  due immediately, balance due

           □      not later than                                  , or
           □      in accordance with □ C,         □ D,       □     E, or     □ F below; or

 B    □    Payment to begin immediately (may be combined with              DC,         □ D, or      □ F below); or

C     □ Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

 D    □ Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    □    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    □    Restitution payment schedule::




Unless the court has expressly ordered otherwise, ifthis jud^ent imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 □    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 □    The defendant shall pay the cost of prosecution.

 □    The defendant shall pay the following court cost(s):

 □    The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the followingorder: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) J VTA assessment, (8) penmties, and (9) costs, mcluding cost of prosecution and court costs.
